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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


JOHN DOE,                                  CIVIL ACTION NO.:
                                           3:19-cv-00620 AWT
Plaintiff,

       vs.
YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON.                            October 22, 2019
Defendants.



         Plaintiff’s Objection to Affidavits Submitted on Reply and Motion to
                      Strike Improperly Submitted Evidence
       Defendants submitted their Reply to the Motion to Enforce Settlement on
October 17, 2019. The Reply contained affidavits from witnesses that had

information that was available before the Motion was initially filed. Presenting the
information on Reply only a few days before a Court hearing on the matter unduly
prejudices the Plaintiff because the Affidavits were submitted after the Court ruled

the individuals would not have to be present in court for questioning.
       The Affidavits are new evidence that require additional time to analyze and
present contrary evidence. The truthfulness of the affiant is at issue given the nature
of the testimony sought to be admitted by the Defendants.
       If admitted in advance of the currently scheduled hearing over the Objection
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of Plaintiff, the Court should strike portions of the affidavits.
      Any portion of an affidavit that is not based on personal knowledge should be

stricken. See United States v. Alessi, 599 F.2d 513, 515 (2d Cir. 1979) (striking six
paragraphs of affidavit that were not based on personal knowledge while
considering rest of affidavit). When ultimate facts and legal conclusions appear in

an affidavit, such extraneous material should also be disregarded by the court. See
A.L. Pickens Co., Inc. v. Youngstown Sheet and Tube Co., 650 F.2d 118, 121 (6th
Cir. 1981) (striking portion of accounting director's affidavit that asserted legal

conclusions); Ball v. Metallurgie Hoboken-Overpelt S.A., No. 87 Civ. 191, 1989
WL 87418, at *8 (N.D.N.Y. 1989) (indicating that unsworn affidavit included
ultimate facts and legal conclusions in violation of Rule 56(e)), aff'd, 902 F.2d 194
(2d Cir.), cert. denied, 498 U.S. 854, 111 S.Ct. 150, 112 L.Ed.2d 116 (1990); 6
Moore's Federal Practice § 56.22[1] (1995) ("[t]he affidavit is no place for ultimate
facts and conclusions of law"); see also Kamen v. American Tel. Tel. Co., 791 F.2d
1006, 1011 (2d Cir. 1986) (district court improperly declined to strike conclusory
"crucial statement" in affidavit under Rule 56(e)).
      Affidavit of Marvin Chun – No Affidavit submitted with initial Motion

Affidavit is providing evidence that was available at the time of filing the original
memorandum and the entire affidavit should be stricken. Plaintiff objects to
inclusion of this Affidavit in this hearing.
      The Affidavit lacks crucial dates that are imperative to the timing of an
alleged settlement that never existed. Paragraphs 3-7 contain ultimate facts and
legal conclusions that extraneous material should be disregarded by the court.

Furthermore, the Affidavit makes no mention of WHEN any of the events in

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Paragraphs 4-8 happened and an unsupported inference that the Dean could not act
independently of the UWC Council. Paragraph 9 contains a legal conclusion that

there was a settlement. The entire affidavit should be stricken as the Affiant will not
be available for cross examination and the content of paragraphs 3-9 are not
admissible. Moreover, the statement seems to confirm something contrary to a

statement made to the Court by Mr. Noonan at the May 3, 2019 hearing that Yale
does not offer legal counsel to its students, yet it seems as though Mr. Noonan was
providing legal assistance and communication to a student.


      Affidavit of Joo Shin – No Affidavit submitted with initial Motion
Affidavit is providing evidence that was available at the time of filing the original
memorandum and the entire affidavit should be stricken. Plaintiff objects to
inclusion of this Affidavit in this hearing. Affiant fails to attach a copy of the
original version of the Affidavit prepared by Mr. Noonan that the Professor refused
to sign. Nor is there any declaration as to a specific conversation between Professor
Shin and Mr. Noonan regarding what John Doe had said regarding the conversation
described by John Doe in his declaration that was filed under seal. Plaintiff requests

paragraphs 3, 4 & 6 of this affidavit as alleging facts or conclusions of law that
were not in the personal knowledge of the affiant.
      Affidavit of Patrick Noonan – Additional Affidavit submitted without
authority
Affidavit is providing evidence that was available at the time of filing the original
memorandum and the entire affidavit should be stricken. Plaintiff objects to

inclusion of this Affidavit in this hearing. Local Rules allow attorneys as officers of

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the Court to include their statements as officer’s of the court, thus an affidavit is
improper on multiple grounds. Nevertheless, Mr. Noonan includes several issues of

legal conclusions that are improper in affidavits and provides misleading testimony
that are contradicted by previous assertions to this Honorable Court.
      In the May 3, 2019 hearing, Mr. Noonan stated to the Court that John Doe

could not possibly graduate even if Yale were to allow him back in to complete his
classes. His current affidavit states “4. At the time I made the foregoing arguments
on behalf of the defendants, I had not been informed that Mr. Doe had been

working on his outstanding assignments while serving his suspension. To the best
of my knowledge, that fact was not known to my clients either.” (Noonan
Declaration at paragraph 4.) Mr. Noonan knew before the hearing that Mr. Doe had
a detailed list of the outstanding assignments he was prepared to provide upon being
accepted back into Yale. John Doe Declaration filed on May 3, 2019 (paragraph 4)
the morning of the hearing and e-mailed to Mr. Noonan before the hearing stated in
class-by-class detail that John Doe could in fact graduate and specified the
outstanding assignments due in each class that he was prepared to provide for his
graduation. “Given the chance to submit my work, I will in fact be on track to

graduating this term.” (declaration of Doe filed May 3, 3019, paragraph 5.)
      Moreover, the affidavit of Professor Shin confirms that three days before the
May 3, 2019 hearing that Mr. Noonan knew John Doe could complete assignments
if he was to be allowed to complete them. What Mr. Noonan told the Court is
inconsistent with what has been stated by Professor Shin in her affidavit, and
corroborated with John Doe’s statements about a conversation he had with

Professor Shin.

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      Plaintiff respectfully requests this Honorable Court disregard all of the
Affidavits submitted with the Defendants’ Reply, or in the alternative, allow for

cross-examination of the individuals making the declarations.


Respectfully submitted.


Dated this 22ndday of October, 2019.
                                        THE PLAINTIFF
                                        /s/ Jorge I. Hernandez

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                                   CERTIFICATION
I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation
of the court’s electronic filing system as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.
                                                                     /s/Jorge I. Hernandez

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